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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

COREY JOHNSON                                                                   PETITIONER
ADC #155181

v.                                Case No. 4:20-cv-01341-LPR

DEXTER PAYNE
Director, ADC                                                                  RESPONDENT

                                               ORDER

        The Court has received and reviewed the Proposed Findings and Recommended

Disposition submitted by United States Magistrate Judge Jerome T. Kearney. (Doc. 2). Petitioner

Corey Johnson has not filed any objections. After careful consideration, the Court concludes that

the Proposed Findings and Recommended Disposition should be, and hereby is, approved and

adopted in its entirety as this Court’s findings in all respects.

        IT IS THEREFORE ORDERED that:

         1.      Petitioner Corey Johnson’s § 2241 Habeas Petition (Doc. 1) is DENIED and this

case be DISMISSED without prejudice.

         2.      A Certificate of Appealability is DENIED. See 28 U.S.C. § 2253(c)(1)-(2); Rule

11(a), Rules Governing § 2254 Cases in United States District Courts.

        DATED this 11th day of January 2021.



                                                        _________________________________
                                                        LEE P. RUDOFSKY
                                                        UNITED STATES DISTRICT JUDGE
